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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

RACETRAC PETROLEUM, INC.                    )
                                            )
      Plaintiff,                            )
                                            )
vs.                                         )      Civil Action File No.
                                            )      _________________
INMOMENT, INC.                              )
                                            )
     Defendant.                             )
_________________________________           )

               COMPLAINT FOR DECLARATORY JUDGMENT

      Plaintiff, RaceTrac Petroleum, Inc. (“RaceTrac”), files this Petition for

Declaratory Judgment to determine the rights and obligations of the parties,

alleging and showing as follows:

                                INTRODUCTION

      1.      This is an action for Declaratory Judgment pursuant to 28 U.S.C. §

2201 to determine and resolve questions of actual controversy involving the rights

and obligations of the parties pursuant to a Service Agreement and certain

Amendments to the Service Agreement between RaceTrac and defendant

InMoment, Inc., formerly known as Mindshare Technologies, Inc. (“InMoment”).

      2.      RaceTrac seeks a declaration that it properly terminated the Service

Agreement effective July 3, 2018, and that as of that date, neither party has any
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further duties or obligations under the Service Agreement or any of its

Amendments.

                                  THE PARTIES

      3.      Plaintiff RaceTrac is a Georgia Corporation with its principal place of

business in Atlanta, Georgia.

      4.      Upon information and belief, defendant InMoment is a Utah

Corporation with its principal place of business in the State of Utah.         Upon

information and belief, prior to May 2014, InMoment was known as Mindshare

Technologies, Inc., and its name was legally changed to InMoment, Inc. in or

around May 2014.

      5.      On or about March 1, 2012 RaceTrac and InMoment entered into a

Service Agreement which provided for certain services to be provided to RaceTrac

by InMoment (then known as Mindshare Technologies, Inc.) (the “Service

Agreement.”) As set forth in further detail below, beginning in March 2014, the

parties subsequently entered into a series of four Amendments to the Service

Agreement. RaceTrac terminated the Service Agreement as of July 3, 2018.

                          JURISDICTION AND VENUE

      6.      The Court has original jurisdiction over this action pursuant to 28

U.S.C. § 1332 because there is diversity of citizenship among the parties, and the


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matter in controversy, exclusive of interest, attorneys’ fees, and costs, exceeds

Seventy-Five Thousand Dollars ($75,000).       The Court further has jurisdiction

under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., because

RaceTrac is seeking a declaration regarding the parties’ rights and obligations

with respect to the rights and obligations of the parties pursuant to the Service

Agreement and its Amendments.

      7.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

a substantial part of the services provided to RaceTrac under the Service

Agreement were performed in this District.

      8.      Upon information and belief, InMoment may be served at its

registered agent, Jesse Aldous, 10355 S. Jordan Gateway, #600, South Jordan,

Utah 84905. The Court has personal jurisdiction over In Moment because it

transacts business in the State of Georgia.

                                Factual Statement

      9.      On or about March 1, 2012, RaceTrac and InMoment (then known as

Mindshare Technologies, Inc.) entered into a Service Agreement to provide certain

customer and employee feedback phone and web-based survey, analysis and

reporting services to RaceTrac, pursuant to the terms and conditions in the




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Agreement. A true and correct copy of the Agreement is attached hereto as Exhibit

“A.”

       10.   Under the terms of the Service Agreement, InMoment agreed to

provide services to between 600-100 locations, for an initial term of twenty-four

(24) months, at Thirty-Two dollars ($32.00) per location.

       11.   In exchange for the services provided to RaceTrac set forth in the

Service Agreement, RaceTrac agreed to pay InMoment a monthly fee of Sixteen

Thousand, One Hundred Sixteen dollars ($16,116) per month, plus incidental fees

for use of add-on services.

       12.   The Service Agreement was for an initial term of Twenty-Four (24)

months from the Effective Date of March 1, 2012. (Section 1 of the Service

Agreement). Section 1 further provides:

             After the initial expiration of the 12-months from “Effective
             Date,” Client may cancel the agreement at any time for any
             reason or no reason without penalty by providing a 30-day
             written notice to Mindshare. This Agreement will be
             automatically renewed for successive 12 month periods
             upon written agreement of both parties. Mindshare agrees
             that prices will not increase.

       (Emphasis in original)

       13.   Accordingly, pursuant to Section 1 of the Service Agreement, after the

initial expiration of 12-months from the Effective Date, RaceTrac had a unilateral


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right to cancel the Agreement, without penalty, with thirty (30) days’ written

notice.

      14.     This unilateral right to cancel the Agreement without penalty was

reiterated in Exhibit A to the Service Agreement, which provides that the that the

“30-day cancellation clause can be exercised after initial 12-months without any

penalty.” Section 14 of the Service Agreement states that its attached Exhibits are

“expressly made a part of this Agreement as though completely set forth in it” and

that “all references to this Agreement shall be deemed to refer to and include this

Agreement and all such Exhibits.”

      15.     On or about March 1, 2014, the parties entered into Amendment 1 of

the Service Agreement.      (“Amendment 1”)(attached hereto as Exhibit “B”).

Amendment 1 provides, in part:

      1.      Term

      The Agreement is renewed for an additional 12-month term beginning
      on March 1, 2014 and ending on February 28, 2015.

      16.     Amendment 1 further specifically deleted and replaced certain names

and departments, clarified the scope of the Employee Engagement Offering in the

Service Agreement, and specifically deleted and replaced the Travel Policy.

Amendment 1 further provides: “Unless specifically modified by this Amendment,

all other provisions of the Agreement remain in full force and effect.” Amendment

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1 does not amend or otherwise address RaceTrac’s unilateral termination right in

Section 1 and in Exhibit A of the Service Agreement.

      17.      On or about September 8, 2014, the parties entered into Addendum 2

to the Services Agreement (“Addendum 2”)(attached hereto as Exhibit “C”).

Addendum 2, in part, changed Mindshare’s name to InMoment, and extended

certain services offered under the Agreement.       Addendum 2 further provides:

“Except as specifically amended of modified by Addendum 2, all terms and

conditions of the Agreement remain in full force and effect.” Addendum 2 does

not amend or otherwise address RaceTrac’s unilateral termination right in Section

1 and in Exhibit A of the Service Agreement.

      18.      On or about February 27, 2015, the parties entered into Amendment 3

to the Service Agreement. (“Amendment 3”)(attached hereto as Exhibit “D”).

Amendment 3 provides:

      Client and InMoment modify the Agreement as outlined below.

      1. Term

            The Agreement is renewed for an additional 12-month term beginning on
            March 1, 2015 and ending on February 29, 2016. Upon expiration, the
            Agreement will automatically renew for additional 12-month terms
            unless either party provides the other party with at least 30-day prior
            written notice of its intent not to renew.




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      19.   Amendment 3 further provides: “Unless specifically modified by this

Amendment, all other provisions of the Agreement remain in full force and effect.”

Amendment 3 does not specifically delete and replace any terms of the Agreement

and does not amend or otherwise address RaceTrac’s unilateral termination right in

Section 1 and in Exhibit A of the Service Agreement.

      20.   On or about June 29, 2017, the parties entered into Amendment 4 of

the Service Agreement. (“Amendment 4”)(attached hereto as Exhibit “E”).

Amendment 4 added a one-time addition to questions and report on the “Made to

Order” Menu Item. Amendment 4 further provides: “Unless specifically modified

by this Amendment, all other provisions of the Agreement remain in full force and

effect.” Amendment 4 does not amend or otherwise address RaceTrac’s unilateral

termination right in Section 1 and in Exhibit A of the Service Agreement.

      21.   On or about May 18, 2018, pursuant to Section 1 and Exhibit A of the

Service Agreement, RaceTrac provided written notice to InMoment of its intent to

terminate the Service Agreement, effective July 3, 2018. A true and correct copy

of RaceTrac’s written notice of termination of the Service Agreement is attached

hereto as Exhibit “F.”

      22.   On or about May 24, 2018, InMoment notified RaceTrac via email

that its position was that Amendment 3 “supersedes” Section 1 of the Master


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Service Agreement, and the agreement was therefore “in force until February 28,

2019.” InMoment made no mention of Exhibit A to the Service Agreement.

(attached hereto as Exhibit “G”).

      23.    As set forth above, RaceTrac’s unilateral right of termination is set

forth in both Section 1 of the Service Agreement and in Exhibit A to the Service

Agreement. None of the Amendments to the Service Agreement – including

Amendment 3 – delete or replace RaceTrac’s unilateral right of termination in

Section 1 of the Service Agreement.

      24.    Additionally, none of the Amendments address or relate in any way to

Exhibit A, which, in addition to Section 1, also sets forth RaceTrac’s unilateral

right of termination. All four Amendments to the Service Agreement state that

unless specifically modified, all other provisions of the Agreement (which

expressly include its Exhibits) remain in full force and effect. Therefore, Exhibit A

remains in full force and effect. Exhibit A is further referenced in both Sections 2

and 5 of the Service Agreement, which have never been amended by the parties.

                                      COUNT I

                          DECLARATORY JUDGMENT

      25.    RaceTrac restates and re-alleges Paragraphs 1 through 24 as though

fully set forth herein.


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      26.    Section 1 of the Service Agreement provides, in part, that after the

expiration of the initial 12-months from the Effective Date of the agreement,

RaceTrac “may cancel the agreement at any time for any reason or no reason

without penalty by providing a 30-day written notice to Mindshare.” Exhibit A of

the Service Agreement further provides that the “30-day cancellation clause can be

exercised after initial 12-months without penalty.”

      27.    Amendment 3 to the Service Agreement specifies a new one-year

term for the Agreement, with an automatic renewal provision. Amendment 3 does

not amend or otherwise address RaceTrac’s unilateral termination right in Section

1 of the Service Agreement. Amendment 3 also does not address or amend Exhibit

A to the Service Agreement in any manner.

      28.    On May 18, 2018, pursuant to Section 1 and Exhibit A of the Service

Agreement, RaceTrac notified InMoment of its intent to terminate the Service

Agreement, effective July 3, 2018.      Accordingly, RaceTrac properly provided

thirty (30) days’ written notice to InMoment of its intent to terminate the

agreement.

      29.    Neither party has any further obligations under the Service Agreement

or any of its Amendments, other than those which expressly survived termination

of the Agreement. More specifically, after July 3, 2018, RaceTrac had no


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obligation to accept services from InMoment or to pay any billings from

InMoment.

      30.    RaceTrac is informed and believes that InMoment nonetheless

contends that the Service Agreement remains in effect, and that RaceTrac is

obligated to pay InMoment the monthly fee of $16,116, plus incidental fees,

through February 28, 2019. More specifically, RaceTrac is informed and believes

that InMoment contends that Amendment 3 supersedes Section 1 in its entirety,

and therefore RaceTrac did not have a unilateral right to terminate the Service

Agreement with thirty (30) days’ notice.     InMoment therefore contends that

RaceTrac is in breach of its obligation to pay the services fees through February

28, 2019. RaceTrac denies InMoment’s contentions.

      31.   As such, an actual and present dispute exists between RaceTrac and

InMoment as to whether the Service Agreement remains in effect, and whether the

parties have continued obligations under the Service Agreement through February

28, 2019.

      32.   Inasmuch as an actual and present controversy currently exists

between RaceTrac and InMoment concerning their respective rights and

obligations under the Service Agreement and its Amendments, RaceTrac is entitled




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to a judicial determination of its rights and obligations pursuant to 28 U.S.C. §

2201 and Rule 57 of the Federal Rules of Civil Procedure.

      WHEREFORE, RaceTrac respectfully requests that this Court enter an

Order:

      1.       Declaring that RaceTrac Petroleum, Inc. has no further obligations

               under the Service Agreement or any of its Amendments, and

               specifically has no obligation to accept any services from InMoment

               or pay any further billings from InMoment;

      2.       Allowing a trial by jury on any material issues of fact;

      3.       Awarding all reasonable costs incurred by RaceTrac in connection

               with this action, including reasonable attorneys’ fees pursuant to

               applicable law; and

      4.       For such other and further relief as this Court deems just and proper.


Dated: November 7, 2018.

                                            WEINBERG, WHEELER, HUDGINS,
                                            GUNN & DIAL, LLC

                                            /s/ David I. Matthews
                                            David I. Matthews
                                            Georgia Bar No. 477510
                                            Jennifer A. Adler
                                            Georgia Bar No. 585635


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